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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

BARRY F.SHANNON, pro Se ) Case No: CIVIL ACTION NO.
Plaintiff, ) '-"~: ` _
) 1 (":`,! ......
VS. ) COMPLAINT AND DEMANP FOR m
) JURY TRIAL

GLOBAL CREDIT & COLLECTION CORP. )

Defendant. )1 1 CA 1 1 7§5 3

 

COMPLAINT
Plaintiff, Barry F. Shannon, individually, hereby sues Defendant(s) GLOBAL CREDIT &

COLLECTION CORP. for violations of the FAIR DEBT COLLECTIONS PRACTICES ACT,
15 U.S.C § 1692 et seq. (“FDCPA”) and for violations of the FAIR CREDIT REPORTING ACT
(“FCRA”) 15 U.S.C § 1681 et seq.

PRELIMINARY STATEMENT

1. This is an action for damages brought by Plaintiff against Defendant for violations of the
Fair Debt Collections Practices Act (FDCPA) 15 U.S.C § 1692 et seq. and for damages

for violations of the Fair Credit Reporting Act (FCRA) 15 U.S.C § 1681 et seq,

JURISDICTION AND VENUE
2. The jurisdiction ofthis Court is conferred by 15 U.S.C § 1681p and 15 U.S.C § 1692(k).

3. Venue is proper in this District pursuant to 28 U.S.C § 1391b.

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PARTIES

The Plaintiff, Barry F. Shannon, is a natural person residing in Wrentharn, Massachusetts.
Plaintiff is a “consumer” as the term is defined by 15 U.S.C § 1692a(3)

Defendant GLOBAL CREDIT & COLLECTION CORP., is a debt collector as that term

is defined by 15 U.S.C § 1692a(6) with an office located at 300 International Drive Suite

100 Williamsville, NY 14221

FACTUAL ALLEGATIONS

At all relevant times Defendant(s) Was attempting to collect an alleged consumer debt
from Plaintiff.

The alleged debt arose out of transactions which were primarily for family, personal or
household purposes, which meets the definition of a “debt” under 15 U.S.C § 1692a(5).
The Defendants attempted to collect the Debt and, as such, engaged in “communications”
as defined in 15 U.S.C § 1692a(2)

The Debt was purchased, assigned or transferred to GLOBAL CREDIT &

COLLECTION CORP., for collection, or GLOBAL CREDIT & COLLECTION CORP.
was employed by the Creditor to collect the Debt.

In connection with the collection of an alleged debt, Defendants sent Plaintiff initial
written communication dated January 18, 2011 Defendants statements overshadowed and
Were inconsistent with the disclosures required by 15 U.S.C § 1692g(a) et seq.

On January 27, 2011 Plaintiti` sent a demand for validation of the alleged debt. The letter
Was sent by registered mail and was received by Defendants on January 31, 201 l.

Validation as requested was ignored.

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13. On January 17, 2011 GLOBAL CREDIT & COLLECTION CORP. initiated a hard pull

of Plaintiff’ s credit report from TransUnion without permissible purpose.

Count I
Violations of the FDCPA 15 U.S.C § 1692, et seq.

14. The Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
though fully stated herein

15. Defendant violated the FDCPA. Defendants violations include but are not limited to,
the following:

16. The Defendants conduct violated 15 U.S.C § 1692b(1) Contact of Third Party: Failed to
Identify themselves, or failed to state that collector is confirming or correcting location
information

17. The Defendants conduct violated 15 U.S.C § 1692d Any conduct the natural
consequence of which is to harass, oppress, or abuse any person.

18. The Defendants conduct violated 15 U.S.C § 1692d (5) in that Defendants caused the
Plaintiffs phone to ring repeatedly or continuously with the intent to harass, annoy or
abuse Plaintiff.

19. The Def`endants conduct violated 15 U.S.C § 1692e(2) in that the Defendants
misrepresented the character, amount and legal status of the debt.

20. The Defendants conduct violated 15 U.S.C § 1692e(10) in that Defendants employed

false representation and deceptive means to collect a debt.

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WHEREFORE, Plaintiff demands judgment for damages in the amount of $1,000 against
Defendant GLOBAL CREDIT & COLLECTION CORP. for actual or statutory damages,

and punitive damages, attorney’s fees and costs, pursuant to 15 U.S.C § 1692k.

Count II
Violations of the Fair Credit Reporting Act (FCRA) 15 U.S.C § 1681

21. The Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
though fully stated herein.

22. Plaintiff is a consumer Within the meaning of FCRA, 15 U.S.C § 1681a(c)

23. Defendant is a furnisher of information Within the meaning of the FCRA, 15 U.S.C §
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24. The Defendants Willfully violated 15 U.S.C § 1681b(f) by obtaining Plaintist consumer
report without a permissible purpose as defined by 15 U.S.C § 1681b.

25. WHEREFORE, Plaintiff demands judgment for damages in the amount of $1 ,000 against
Defendant GLOBAL CREDIT & COLLECTION CORP. for actual or statutory damages,

and punitive damages, attorney’s fees and costs, pursuant to 15 U.S.C § 1681n.

WHEREFORE, Plaintiff demands judgment for damages against GLOBAL CREDIT &
COLLECTION CORP. and $2,000 for actual or statutory damages, and punitive damages,

attorney’s fees and costs pursuant to 15 U.S.C § 1692k. and 15 U.S.C § 1681n.

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.

Dated this 28“‘ day of September,

2011

Respectfully submitted,

 

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